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                  UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF TEXAS
                        EL PASO DIVISION

THE UNITED STATES OF           §
AMERICA, STATE OF              §
TEXAS, ex rel, PAULINE         §
MOTTS,                         §
                               §
           Plaintiffs,         §
                               §
v.                             §    CIVIL ACTION NO. 3:18-cv-00348-FM
                               §
EAST EL PASO                   §
PHYSICIAN’S MEDICAL            §
CENTER, LLC, D/B/A/            §
FOUNDATION SURGICAL            §
HOSPITAL OF EL PASO,           §
DON BURRIS, VOX INTUS,         §
LLC, DESERT IMAGING            §
SERVICES, L.P., IN             §
TANDEM SOLUTIONS               §
GROUP, LLC, PRINCIPLE          §
HS MANAGEMENT LLC              §
D/B/A PRINCIPLE                §
HEALTH SYSTEMS,                §
AMERICAN INSTITUTE OF          §
TOXICOLOGY, INC.,              §
CONCORD LIFE                   §
SCIENCES, LLC, AND             §
NORTH CENTRAL                  §
FLORIDA                        §
NEURODIAGNOSTIC                §
SERVICES, LLC,                 §
                               §
           Defendants.         §



       DEFENDANT DON BURRIS’S ORIGINAL ANSWER




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      Pursuant to Federal Rules of Civil Procedure 8, 10, 11, and 12, Defendant Don

Buris ("Defendant"), files this Original Answer to the United States’ Complaint in

Intervention (the "Complaint") (Doc. 21) filed by Plaintiff the United States of

America (“Plaintiff” or “United States”), and respectfully states the following:

                                  INTRODUCTION

      1.       Defendant states that Plaintiff purports to allege the causes action

identified in paragraph 1 of the Complaint and denies the allegations.

      2.       Defendant admits that at times he served as the Chief Executive Officer

(“CEO”) of East El Paso Physician’s Medical Center d/b/a Foundation Surgical

Hospital of El Paso (“Foundation”). Defendant is without sufficient information to

form a belief as to the truth of the allegations in the second and third sentences of

Paragraph 2 of the Complaint, and therefore denies them.

      3.       Defendant admits that Leroy Candelaria (“Candelaria”) was involved in

the health care industry but otherwise lacks sufficient information to form a belief as

to the truth of the remaining allegations in Paragraph 3 of the Complaint, and

therefore denies them.

      4.       Defendant denies the allegations in Paragraph 4 of the Complaint.

      5.       Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 5 of the Complaint at this time, and therefore,

denies them.

      6.       Defendant denies the allegations in Paragraph 6 of the Complaint.

      7.       Defendant denies the allegations in Paragraph 7 of the Complaint.

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      8.       Defendant denies the allegations in Paragraph 8 of the Complaint.

      9.       Defendant denies the allegations in Paragraph 9 of the Complaint.

      10.      Defendant denies the allegations in Paragraph 10 of the Complaint.

      11.      Defendant denies the allegations in Paragraph 11 of the Complaint.

      12.      Defendant denies the allegations in Paragraph 12 of the Complaint.

      13.      Defendant denies the allegations in Paragraph 13 of the Complaint.

      14.      Defendant denies the first sentence in Paragraph 14 of the Complaint.

As to the second sentence, Defendant admits that Defendant Burris served as

president of Vox, but otherwise denies the remaining allegations in Paragraph 14 of

the Complaint.

                           JURISDICTION AND VENUE

      15.      The allegations contained in Paragraph 15 of the Complaint relate to

legal questions to which no response is required at this time.

      16.      The allegations contained in Paragraph 16 of the Complaint relate to

legal questions to which no response is required at this time.

      17.      The allegations contained in Paragraph 17 of the Complaint relate to

legal questions to which no response is required at this time.

      18.      The allegations contained in Paragraph 18 of the Complaint relate to

legal questions to which no response is required at this time.

                                      PARTIES

      19.      Defendant admits that the United States generally operates various

government sponsored health care programs; however, the allegations contained in

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the first three sentences of Paragraph 19 of the Complaint relate to specific legal

questions to which no response is required at this time. Defendant states that it

appears that Relator Pauline Motts filed the initial version of this case and that the

United States appears to have elected to intervene in the case in some fashion;

otherwise, the remaining allegations contained in Paragraph 19 of the Complaint

represent legal conclusions to which no responsive pleading is required.

      20.     Defendant is without sufficient information to form a belief as to the

truth of the allegations in the first sentence of Paragraph 20 of the Complaint. As to

the second sentence, Defendant admits that Relator Motts is a former employee of

Foundation.

      21.     As to the first sentence of Paragraph 21, Defendant admits that

Foundation is a physician-owned health care facility that provides emergency

services. Defendant admits the allegations in the second sentence of Paragraph 21.

Defendant is without sufficient information to form a belief as to the truth of the

allegations in the third sentence of Paragraph 21 of the Complaint, and therefore

denies them. The remaining allegations contained in the fourth sentence of

Paragraph 21 of the Complaint represent legal conclusions to which no response is

required at this time.

      22.     Defendant admits the allegations of the first sentence of Paragraph 22.

Defendant denies the allegations in the second sentence of Paragraph 22. Defendant

denies the allegations in the third sentence of Paragraph 22. As to the fourth sentence



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of Paragraph 22, Defendant admits his current residence, but otherwise denies the

remainder of the allegations of that sentence of the Complaint.

        23.     Defendant admits that Vox is a for profit company based in Colorado.

Defendant admits that Defendant is the President of Vox. Defendant denies that Vox

entered into a Management Services Agreement with East El Paso Physician’s

Medical Center d/b/a Foundation Surgical Hospital of El Paso (“Foundation”).

Defendant admits that he was provided with the title of CEO of Foundation.

Defendant admits where Vox may be served.

        24.     Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 24 of the Complaint at this time, and therefore

denies them.

        25.     Defendant denies that Defendant Burris was “one of the primary

architects of this illegal kickback and pass-through billing scheme” as alleged in the

first sentence of Paragraph 25 of the Complaint. At this time, Defendant is without

sufficient information to form a belief as to the truth of the remaining allegations in

the first sentence and second sentence in Paragraph 25 of the Complaint, and

therefore denies them.

        26.     At this time, Defendant is without sufficient information to form a belief

as to the truth of the allegations in Paragraph 26 of the Complaint, and therefore

denies them.

                    LEGAL AND REGULATORY BACKGROUND

   I.         THE FALSE CLAIMS ACT

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      27.     The allegations contained in Paragraph 27 of the Complaint relate to

legal questions to which no response is required and otherwise speak for themselves.

      28.     The allegations contained in Paragraph 28 of the Complaint relate to

legal questions to which no response is required and otherwise speak for themselves.

      29.     The allegations contained in Paragraph 29 of the Complaint relate to

legal questions to which no response is required and otherwise speak for themselves.

      30.     The allegations contained in Paragraph 30 of the Complaint relate to

legal questions to which no response is required and otherwise speak for themselves.

      31.     The allegations contained in Paragraph 31 of the Complaint relate to

legal questions to which no response is required and otherwise speak for themselves.

II.   THE ANTI-KICKBACK STATUTE

      32.     The allegations contained in Paragraph 32 of the Complaint relate to

legal questions to which no responsive pleading is required.

      33.     The allegations contained in Paragraph 33 of the Complaint relate to

legal questions to which no responsive pleading is required.

      34.     The allegations contained in Paragraph 34 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      35.     The allegations contained in Paragraph 35 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.



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      36.      The allegations contained in Paragraph 36 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

III. PATIENT PROTECTION AND AFFORDABLE CARE ACT

      37.      The allegations contained in Paragraph 37 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      38.      The allegations contained in Paragraph 38 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves..

IV.   THE MEDICARE PROGRAM

      39.      The allegations contained in Paragraph 39 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      40.      The allegations contained in Paragraph 40 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      41.      The allegations contained in Paragraph 41 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.




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      42.     The allegations contained in Paragraph 42 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves and otherwise speak for themselves.

      43.     The allegations contained in Paragraph 43 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

is without sufficient information to form a belief as to the truth of the allegations in

Paragraph 43 of the Complaint at this time.

      A. Medicare Part A

      44.     The allegations contained in Paragraph 44 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves and otherwise speak for themselves.

      45.     The allegations contained in Paragraph 45 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      46.     The allegations contained in Paragraph 46 of the Complaint relate to

legal questions to which no responsive pleading is required. As to the second sentence

of Paragraph 46, Defendant does not recall the specific dates any such Certification

Sections of Form CMS-855A were executed or whether he actually signed such

Certification Sections.

      47.     The allegations contained in Paragraph 47 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

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      48.     The allegations contained in Paragraph 48 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      49.     The allegations contained in the first sentence of Paragraph 49 of the

Complaint relate to legal questions to which no responsive pleading is required and

otherwise speak for themselves. Defendant is without sufficient information to form

a belief as to the truth of the allegations in the second sentence of Paragraph 49 of

the Complaint at this time as Defendant does not recall the specific dates any such

CMS-2552 was executed or the circumstances surrounding their execution.

      50.     The allegations contained in Paragraph 50 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      51.     The allegations contained in Paragraph 51 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      52.     The allegations contained in Paragraph 52 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      53.     The allegations contained in Paragraph 53 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      B.    Medicare Part B

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      54.     The allegations contained in Paragraph 54 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      55.     The allegations contained in Paragraph 55 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      56.     The allegations contained in Paragraph 56 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      57.     The allegations contained in Paragraph 57 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      58.     The allegations contained in Paragraph 58 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      59.     The allegations contained in Paragraph 59 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      60.     The allegations contained in Paragraph 60 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.



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      61.     The allegations contained in Paragraph 61 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      62.     The allegations contained in Paragraph 62 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      63.     The allegations contained in Paragraph 63 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      64.     The allegations contained in Paragraph 64 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      65.     The allegations contained in Paragraph 65 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      C.    Medicare Part C

      66.     The allegations contained in Paragraph 66 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      67.     The allegations contained in Paragraph 67 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

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      68.     The allegations contained in Paragraph 68 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      D. Provider-based status

      69.     The allegations contained in Paragraph 69 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      70.     The allegations contained in Paragraph 70 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      71.     The allegations contained in Paragraph 71 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      72.     The allegations contained in Paragraph 72 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      73.     The allegations contained in Paragraph 73 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

V.    TEXAS MEDICAID PROGRAM




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      74.     The allegations contained in Paragraph 74 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      75.     The allegations contained in Paragraph 75 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      76.     The allegations contained in Paragraph 76 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      77.     The allegations contained in Paragraph 77 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      78.     The allegations contained in Paragraph 78 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      79.     The allegations contained in Paragraph 79 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      80.     The allegations contained in Paragraph 80 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.



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      81.     The allegations contained in Paragraph 81 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      82.     The allegations contained in Paragraph 82 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      83.     The allegations contained in Paragraph 83 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      84.     The allegations contained in Paragraph 84 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

VI.   THE TRICARE PROGRAM

      85.     The allegations contained in Paragraph 85 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      86.     The allegations contained in Paragraph 86 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

      87.     The allegations contained in Paragraph 87 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

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       88.    The allegations contained in Paragraph 88 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

       89.    The allegations contained in Paragraph 89 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

       90.    The allegations contained in Paragraph 90 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

       91.    The allegations contained in Paragraph 91 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

       92.    The allegations contained in Paragraph 92 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

       93.    The allegations contained in Paragraph 93 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

VII.   FEHBP

       94.    The allegations contained in Paragraph 94 of the Complaint relate to

legal questions to which no responsive pleading is required and otherwise speak for

themselves.

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                                        FACTS

        95.    Defendant is without sufficient information to form a belief as to when

Foundation was established. Defendant admits the location of Foundation. Defendant

admits that in the past, Foundation was physician-owned and provided services for

24-hour emergencies.

        96.    Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 96 of the Complaint, and therefore denies them.

        97.    Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 97 of the Complaint, and therefore denies them.

        98.    Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 98 of the Complaint, and therefore denies them.

        99.    Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 99 of the Complaint, and therefore denies them.

        100.   Defendant does not presently have a copy of the Management Services

Agreement referenced in the first sentence of Paragraph 100 of the Complaint. As

such, Defendant is without sufficient information to form a belief as to the truth of

the allegations in Paragraph 100 of the Complaint at this time, and therefore denies

them.

        101.   Defendant denies the allegations contained in Paragraph 101 of the

Complaint.

        102.   Defendant does not presently have a copy of the Agreement referenced

in the first sentence of Paragraph 102 of the Complaint. As such, Defendant is

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without sufficient information to form a belief as to the truth of the allegations in

Paragraph 102 of the Complaint, and therefore denies them.

        103.   Defendant does not presently have a copy of the Agreement referenced

in the first sentence of Paragraph 103 of the Complaint. As such, Defendant is

without sufficient information to form a belief as to the truth of the allegations in

Paragraph 103 of the Complaint, and therefore denies them.

        104.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 104 of the Complaint, and therefore denies

them.

        105.   Defendant does not presently have a copy of the Agreement referenced

in the first sentence of Paragraph 105 of the Complaint. As such, Defendant is

without sufficient information to form a belief as to the truth of the allegations in

Paragraph 105 of the Complaint, and therefore denies them.

        106.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 106 of the Complaint, and therefore denies

them.

        107.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 107 of the Complaint, and therefore denies

them.

        108.   Defendant does not presently have a copy of the Agreement referenced

in the first sentence of Paragraph 108 of the Complaint. As such, Defendant is



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without sufficient information to form a belief as to the truth of the allegations in

Paragraph 108 of the Complaint, and therefore denies them.

      109.     Defendant denies the allegations contained in the first sentence of

Paragraph 109 of the Complaint. Defendant does not presently have a copy of the

EOBs referenced in the second sentence of Paragraph 109 of the Complaint. As such,

Defendant is without sufficient information to form a belief as to the truth of the

allegations in the second sentence of Paragraph 109 of the Complaint, and therefore

denies them.

      110.     Defendant does not presently have a copy of the Agreement referenced

in the first sentence of Paragraph 110 of the Complaint. As such, Defendant is

without sufficient information to form a belief as to the truth of the allegations in

Paragraph 110 of the Complaint, and therefore denies them.

      111.     Defendant does not presently have a copy of the Agreement referenced

in the first sentence of Paragraph 111 of the Complaint. As such, Defendant is

without sufficient information to form a belief as to the truth of the allegations in

Paragraph 111 of the Complaint, and therefore denies them.

      112.     Defendant does not presently have a copy of the Agreement referenced

in the first sentence of Paragraph 112 of the Complaint. As such, Defendant is

without sufficient information to form a belief as to the truth of the allegations in

Paragraph 112 of the Complaint, and therefore denies them.




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        113.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 113 of the Complaint, and therefore denies

them.

        114.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 114 of the Complaint, and therefore denies

them.

        115.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 115 of the Complaint, and therefore denies

them.

        116.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 116 of the Complaint, and therefore denies

them.

        117.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 117 of the Complaint, and therefore denies

them.

        118.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 118 of the Complaint, and therefore denies

them.

        119.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 119 of the Complaint, and therefore denies

them.



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        120.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 120 of the Complaint, and therefore denies

them.

        121.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 121 of the Complaint, and therefore denies

them.

        122.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 122 of the Complaint, and therefore denies

them.

        123.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 123 of the Complaint, and therefore denies

them.

        124.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 124 of the Complaint, and therefore denies

them.

        125.   Defendant does not presently have a copy of the Agreement referenced

in the first sentence of Paragraph 125 of the Complaint. As such, Defendant is

without sufficient information to form a belief as to the truth of the allegations in the

first sentence in Paragraph 125 of the Complaint, and therefore denies them.

Defendant is without sufficient information to form a belief as to the truth of the

allegations in the second sentence in Paragraph 125 of the Complaint, and therefore

denies them. Defendant denies the allegations in the third sentence in Paragraph 125

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of the Complaint as they relate to him or Vox Intus, LLC. Defendant is without

sufficient information to form a belief as to the truth of the allegations in Paragraph

125 of the Complaint as to the other defendants at this time, and therefore denies

them.

        126.   Defendant does not presently have a copy of the Agreement referenced

in the first sentence of Paragraph 126 of the Complaint. As such, Defendant is

without sufficient information to form a belief as to the truth of the allegations in

Paragraph 126 of the Complaint, and therefore denies them.

        127.   Defendant denies participating in any purported kickback scheme.

Defendant is without sufficient information to form a belief as to the truth of the

allegations in Paragraph 127 of the Complaint, and therefore denies them.

        128.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 128 of the Complaint, and therefore denies

them.

        129.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 129 of the Complaint, and therefore denies

them.

        130.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 130 of the Complaint, and therefore denies

them.




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        131.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 131 of the Complaint, and therefore denies

them.

        132.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 132 of the Complaint, and therefore denies

them.

        133.   Defendant denies the allegations contained in Paragraph 133 of the

Complaint.

        134.   Defendant denies the allegations contained in Paragraph 134 of the

Complaint.

        135.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 135 of the Complaint, and therefore denies

them.

        136.   Defendant denies the allegations in Paragraph 136 of the Complaint as

they relate to him or Vox Intus, LLC. Defendant is without sufficient information to

form a belief as to the truth of the allegations in Paragraph 136 of the Complaint as

to the other defendants at this time, and therefore denies them.

        137.   Defendant denies the allegations in Paragraph 137 of the Complaint as

they relate to him or Vox Intus, LLC. Defendant is without sufficient information to

form a belief as to the truth of the allegations in Paragraph 137 of the Complaint as

to the other defendants at this time, and therefore denies them.



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        138.   Defendant denies the allegations contained in Paragraph 138 of the

Complaint.

        139.   Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 139 of the Complaint, and therefore denies

them.

                                COUNT I
                False Claims Act, 31 U.S.C. § 3729(a)(1)(A)
     Presenting or Causing False Claims to be Presented for Payment

        140.   The allegations contained in Paragraph 140 of the Complaint relate to

legal questions to which no responsive pleading is required.

        141.   The allegations contained in Paragraph 141 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

denies the allegations in Paragraph 141 of the Complaint as they relate to him or Vox

Intus, LLC. Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 141 of the Complaint as to the other defendants

at this time, and therefore denies them.

        142.   The allegations contained in Paragraph 142 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

denies the allegations in Paragraph 142 of the Complaint as they relate to him or Vox

Intus, LLC. Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 142 of the Complaint as to the other defendants

at this time, and therefore denies them.



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      143.   The allegations contained in Paragraph 143 of the Complaint relate to

legal questions to which no responsive pleading is required.

                                 COUNT II
                  False Claims Act 31 U.S.C. § 3729(a)(1)(B)
                Making or Using False Records or Statements

      144.   The allegations contained in Paragraph 144 of the Complaint relate to

legal questions to which no responsive pleading is required.

      145.   The allegations contained in Paragraph 145 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

denies the allegations in Paragraph 145 of the Complaint as they relate to him or Vox

Intus, LLC. Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 145 of the Complaint as to the other defendants

at this time, and therefore denies them.

      146.   The allegations contained in Paragraph 146 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

denies the allegations in Paragraph 146 of the Complaint as they relate to him or Vox

Intus, LLC. Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 146 of the Complaint as to the other defendants

at this time, and therefore denies them.

      147.   The allegations contained in Paragraph 147 of the Complaint relate to

legal questions to which no responsive pleading is required.

                                 COUNT III
                   False Claims Act 31 U.S.C. § 3729(a)(1)(C)
                     Conspiracy to Submit False Claims

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      148.   The allegations contained in Paragraph 148 of the Complaint relate to

legal questions to which no responsive pleading is required.

      149.   The allegations contained in Paragraph 149 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

denies the allegations in Paragraph 149 of the Complaint as they relate to him or Vox

Intus, LLC. Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 149 of the Complaint as to the other defendants

at this time, and therefore denies them.

      150.   The allegations contained in Paragraph 150 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

denies the allegations in Paragraph 150 of the Complaint as they relate to him or Vox

Intus, LLC. Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 150 of the Complaint as to the other defendants

at this time, and therefore denies them.

                                  COUNT IV
             False Claims Act: Avoiding an Obligation to Refund
                           31 U.S.C. § 3729(a)(1)(G)

      151.   The allegations contained in Paragraph 151 of the Complaint relate to

legal questions to which no responsive pleading is required.

      152.   The allegations contained in Paragraph 152 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

denies the allegations in Paragraph 152 of the Complaint as they relate to him or Vox


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Intus, LLC. Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 152 of the Complaint as to the other defendants

at this time, and therefore denies them.

      153.   The allegations contained in Paragraph 153 of the Complaint relate to

legal questions to which no responsive pleading is required.

                                   COUNT V
                               Unjust Enrichment

      154.   The allegations contained in Paragraph 154 of the Complaint relate to

legal questions to which no responsive pleading is required.

      155.   The allegations contained in Paragraph 155 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

denies the allegations in Paragraph 155 of the Complaint as they relate to him or Vox

Intus, LLC. Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 155 of the Complaint as to the other defendants

at this time, and therefore denies them.

      156.   The allegations contained in Paragraph 156 of the Complaint relate to

legal questions to which no responsive pleading is required. Nonetheless, Defendant

denies the allegations in Paragraph 156 of the Complaint as they relate to him or Vox

Intus, LLC. Defendant is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 156 of the Complaint as to the other defendants

at this time, and therefore denies them.

                                  COUNT VI
                              Payment by Mistake

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      157.   The allegations contained in Paragraph 157 of the Complaint relate to

legal questions to which no responsive pleading is required.

      158.   The allegations contained in Paragraph 158 of the Complaint relate to

legal questions to which no responsive pleading is required.

      159.   The allegations contained in Paragraph 159 of the Complaint relate to

legal questions to which no responsive pleading is required.

      160.   The allegations contained in Paragraph 160 of the Complaint relate to

legal questions to which no responsive pleading is required.

                             PLAINTIFFS’ PRAYER

      Defendant Don Burris prays that Plaintiffs take nothing by this suit, that

Defendant goes hence with his costs without delay, and for such other and further

relief, both general and special, at law and in equity to which Defendant may show

himself justly entitled.

                                       Respectfully submitted,

                                       By:    /s/ J. Edward Johnson
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                                      ATTORNEYS FOR DEFENDANTS
                                      VOX INTUS, LLC AND DON BURRIS




                          CERTIFICATE OF SERVICE

       This is to certify that on the 13th day of September 2021, a true and correct
copy of the foregoing has been forwarded to all counsel of record, as follows:

        Via ECF
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                                              /s/ J. Edward Johnson
                                              J. Edward Johnson




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